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 7
 8                    UNITED STATES DISTRICT COURT
 9                  SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,   )         Case No.: 17cr3741-AJB
11                               )
                       Plaintiff,)         FINDINGS AND RECOMMENDATION
12                                         OF THE MAGISTRATE JUDGE
                                 )
     v.                                    UPON A PLEA OF GUILTY
13                               )
     Mario Antonio Tadeo         )
14
                                 )
15   Hernandez-Peraza,           )
                                 )
16
17                         Defendant.
18
         Upon Defendant’s request to enter a guilty plea to
19
     Count 1 of the Information pursuant to Rule 11 of the
20
     Federal Rules of Criminal Procedure, this matter was
21
     referred to the Magistrate Judge by the District Judge,
22
     with the written consents of the Defendant, counsel for
23
     the Defendant, and counsel for the United States.
24
         Thereafter, the matter came on for a hearing on
25
     Defendant’s guilty plea, in full compliance with Rule
26
     11, Federal Rules of Criminal Procedure, before the
27
     Magistrate Judge, in open court and on the record.
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 1       In consideration of that hearing and the allocution
 2   made by the Defendant under oath on the record and in
 3   the presence of counsel, and the remarks of the
 4   Assistant United States Attorney,
 5       I make the following FINDINGS - that the Defendant
 6   understands:
 7
         1.    The government’s right, in a prosecution for
 8
               perjury or false statement, to use against the
 9
               defendant any statement that the defendant
10
11             gives under oath;
12       2.    The right to persist in a plea of “not guilty”;
13       3.    The right to a speedy and public trial;
14
         4.    The right to trial by jury, or the ability to
15
               waive that right and have a judge try the case
16
               without a jury;
17
18       5.    The right to be represented by counsel-and if
19             necessary to have the court appoint counsel-at
20             trial and at every other stage of the
21
               proceeding;
22
         6.    The right at trial to confront and cross-
23
               examine adverse witnesses, to be protected from
24
25             compelled self-incrimination, to testify and
26             present evidence, and to compel the attendance
27             of witnesses;
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 1      7.    The defendant’s waiver of these trial rights if
 2            the court accepts a guilty plea or nolo
 3
              contendere;
 4
        8.    The nature of each charge to which the
 5
              defendant is pleading;
 6
 7      9.    Any maximum possible penalty, including
 8            imprisonment, fine, and term of supervised
 9            release;
10
        10. Any applicable mandatory minimum penalty;
11
        11. Any applicable forfeiture;
12
        12. The court’s authority to order restitution;
13
14      13. The court’s obligation to impose a special
15            assessment;
16      14. In determining a sentence, the court’s
17
              obligation to calculate the applicable
18
              sentencing guideline range and to consider that
19
              range, possible departures under the Sentencing
20
21            Guidelines, and other sentencing factors under
22            18 U.S.C § 3553(a);
23      15. The term of any plea agreement and any
24
              provision in that agreement that waives the
25
              right to appeal or to collaterally attack the
26
              conviction and sentence; and
27
28

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 1       16. That, if convicted, a defendant who is not a
 2             United States citizen may be removed from the
 3
               United States, denied citizenship, and denied
 4
               admission to the United States in the future.
 5
     I further find that:
 6
 7       17. The defendant is competent to enter a plea;
 8       18. The defendant’s guilty plea is made knowingly
 9
               and voluntarily, and did not result from force,
10
               threats or promises (other than those made in a
11
               plea agreement); and
12
13       19. There is a factual basis for Defendant’s plea.
14       I therefore RECOMMEND that the District Judge
15   accept the Defendant’s guilty plea to Count 1 of the
16
     Information.
17
         The sentencing hearing will be before United States
18
     District Judge Anthony J. Battaglia, on 2/12/2018 at
19
20   9:00 AM. The court excludes time from 11/21/2017

21   through 2/12/2018         pursuant to 18 USC § 3161(h)(1)(G)
22   on the ground that the District Judge will be
23
     considering the proposed plea agreement.
24
         Objections to these Findings and Recommendations
25
     are waived by the parties if not made within 14 days of
26
27   this order. If the parties waive the preparation of the
28

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 1   Presentence Report, objections are due within three
 2   days of this order.
 3
 4
     Dated: 11/21/2017
 5
                                     Hon. William V. Gallo
 6
                                     United States Magistrate Judge
 7
 8
 9
     Copies to:
10   Judge Anthony J. Battaglia
     Assistant United States Attorney
11
     Counsel for Defendant
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